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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                             November 2021 Grand Jury

11   UNITED STATES OF AMERICA,               CR   2:21-CR-00581-DMG

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [18 U.S.C. §§ 2251(a), (e): Sexual
                                             Exploitation and Attempted Sexual
14   MATTHEW CHRISTIAN LOCHER,               Exploitation of a Child for the
       aka “Matt,”                           Purpose of Producing a Sexually
15     aka “The Hat,”                        Explicit Visual Depiction; 18
       aka “MattheHat,”                      U.S.C. § 2422(b): Enticement and
16     aka “HeyThere,”                       Attempted Enticement of a Minor to
       aka “Shark,”                          Engage in Criminal Sexual
17                                           Activity; 18 U.S.C.
               Defendant.                    §§ 2252A(a)(2)(A), (b)(1): Receipt
18                                           of Child Pornography; 18
                                             U.S.C. §§ 2253 and 1467: Criminal
19                                           Forfeiture]
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21        The Grand Jury charges:
22                                     COUNT ONE
23                           [18 U.S.C. §§ 2251(a), (e)]
24        On or about January 16, 2021, in Los Angeles County, within the
25   Central District of California, and elsewhere, defendant MATTHEW
26   CHRISTIAN LOCHER, also known as (“aka”) “Matt,” aka “The Hat,” aka
27   “MattheHat,” aka “HeyThere,” aka “Shark,” knowingly employed, used,
28   persuaded, induced, enticed, and coerced Victim A, then a 15-year-old
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 1   minor girl in Tennessee, to engage in sexually explicit conduct,

 2   namely, an actual lascivious exhibition of the anus, genitals, or

 3   pubic area, as defined in Title 18, United States Code, Section

 4   2256(2)(A)(v), for the purpose of producing a visual depiction of

 5   such conduct, knowing and having reason to know that such visual

 6   depiction would be transported and transmitted using any means and

 7   facility of interstate and foreign commerce, and which visual

 8   depiction was produced and transmitted using materials that had been

 9   mailed, shipped, and transported in and affecting interstate and

10   foreign commerce by any means, including by computer and cellular

11   telephone, and which visual depiction was actually transported and

12   transmitted using any means and facility of interstate and foreign

13   commerce and in and affecting interstate and foreign commerce,

14   including the Internet.

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 1                                     COUNT TWO

 2                              [18 U.S.C. § 2422(b)]

 3        On or about January 16, 2021, in Los Angeles County, within the

 4   Central District of California, and elsewhere, defendant MATTHEW

 5   CHRISTIAN LOCHER, also known as (“aka”) “Matt,” aka “The Hat,” aka

 6   “MattheHat,” aka “HeyThere,” aka “Shark,” used the Internet, a

 7   facility and means of interstate and foreign commerce, to knowingly

 8   persuade, induce, entice, and coerce a person who had not yet

 9   attained the age of 18 years, specifically, Victim A, then a 15-year-

10   old minor girl in Tennessee, to engage in sexual activity for which a

11   person can be charged with a criminal offense, namely, production of

12   child pornography, in violation of Title 18, United States Code,

13   Section 2251(a).

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 1                                    COUNT THREE

 2                     [18 U.S.C. §§ 2252A(a)(2)(A), (b)(1)]

 3        On or about January 16, 2021, in Los Angeles County, within the

 4   Central District of California, and elsewhere, defendant MATTHEW

 5   CHRISTIAN LOCHER, also known as (“aka”) “Matt,” aka “The Hat,” aka

 6   “MattheHat,” aka “HeyThere,” aka “Shark,” knowingly received child

 7   pornography, as defined in Title 18, United States Code, Section

 8   2256(8)(A), using any means of facility of interstate and foreign

 9   commerce, namely, a messaging application, and which had been shipped

10   and transported in and affecting interstate and foreign commerce by

11   any means, including by computer and telephone, knowing that the

12   images were child pornography.

13        The child pornography that defendant received on or about

14   January 16, 2021, included three frontal, body-length images

15   depicting the nude body and exposed genitals of Victim A, then a 15-

16   year-old minor girl in Tennessee.

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 1                                     COUNT FOUR

 2                           [18 U.S.C. §§ 2251(a), (e)]

 3        On or about November 7, 2020, in Los Angeles County, within the

 4   Central District of California, and elsewhere, defendant MATTHEW

 5   CHRISTIAN LOCHER, also known as (“aka”) “Matt,” aka “The Hat,” aka

 6   “MattheHat,” aka “HeyThere,” aka “Shark,” knowingly attempted to

 7   employ, use, persuade, induce, entice, and coerce Victim A, then a

 8   15-year-old minor girl in Tennessee, to engage in sexually explicit

 9   conduct, namely, actual sadistic or masochistic abuse, as defined in

10   Title 18, United States Code, Section 2256(2)(A)(iv), that is,

11   cutting her breasts, for the purpose of producing a visual depiction

12   of such conduct, knowing and having reason to know that such visual

13   depiction would be transported and transmitted using any means and

14   facility of interstate and foreign commerce and in and affecting

15   interstate and foreign commerce.

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 1                                     COUNT FIVE

 2                              [18 U.S.C. § 2422(b)]

 3        On or about November 7, 2020, in Los Angeles County, within the

 4   Central District of California, and elsewhere, defendant MATTHEW

 5   CHRISTIAN LOCHER, also known as (“aka”) “Matt,” aka “The Hat,” aka

 6   “MattheHat,” aka “HeyThere,” aka “Shark,” used the Internet, a

 7   facility and means of interstate and foreign commerce, to knowingly

 8   attempt to persuade, induce, entice, and coerce a person who had not

 9   yet attained the age of 18 years, specifically, Victim A, then a 15-

10   year-old minor girl in Tennessee, to engage in sexual activity for

11   which a person can be charged with a criminal offense, namely,

12   production of child pornography, in violation of Title 18, United

13   States Code, Section 2251(a).

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 1                                     COUNT SIX

 2                           [18 U.S.C. §§ 2251(a), (e)]

 3        Between on or about March 12, 2021 and on or about March 13,

 4   2021, in Los Angeles County, within the Central District of

 5   California, and elsewhere, defendant MATTHEW CHRISTIAN LOCHER, also

 6   known as (“aka”) “Matt,” aka “The Hat,” aka “MattheHat,” aka

 7   “HeyThere,” aka “Shark,” knowingly employed, used, persuaded,

 8   induced, enticed, and coerced Victim B, then a 17-year-old minor girl

 9   in California, to engage in sexually explicit conduct, namely, actual

10   sadistic or masochistic abuse, as defined in Title 18, United States

11   Code, Section 2256(2)(A)(iv), that is, cutting her breasts, for the

12   purpose of producing a visual depiction of such conduct, knowing and

13   having reason to know that such visual depiction would be transported

14   and transmitted using any means and facility of interstate and

15   foreign commerce, and which visual depiction was produced and

16   transmitted using materials that had been mailed, shipped, and

17   transported in and affecting interstate and foreign commerce by any

18   means, including by computer and cellular telephone, and which visual

19   depiction was actually transported and transmitted using any means

20   and facility of interstate and foreign commerce and in and affecting

21   interstate and foreign commerce, including the Internet.

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 1                                    COUNT SEVEN

 2                              [18 U.S.C. § 2422(b)]

 3        Between on or about March 12, 2021 and on or about March 13,

 4   2021, in Los Angeles County, within the Central District of

 5   California, and elsewhere, defendant MATTHEW CHRISTIAN LOCHER, also

 6   known as (“aka”) “Matt,” aka “The Hat,” aka “MattheHat,” aka

 7   “HeyThere,” aka “Shark,” used the Internet, a facility and means of

 8   interstate and foreign commerce, to knowingly persuade, induce,

 9   entice, and coerce a person who had not yet attained the age of 18

10   years, specifically, Victim B, then a 17-year-old minor girl in

11   California, to engage in sexual activity for which a person can be

12   charged with a criminal offense, namely, production of child

13   pornography, in violation of Title 18, United States Code, Section

14   2251(a).

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 1                                    COUNT EIGHT

 2                              [18 U.S.C. § 2422(b)]

 3        On or about July 6, 2020, in Los Angeles County, within the

 4   Central District of California, and elsewhere, defendant MATTHEW

 5   CHRISTIAN LOCHER, also known as (“aka”) “Matt,” aka “The Hat,” aka

 6   “MattheHat,” aka “HeyThere,” aka “Shark,” used the Internet, a

 7   facility and means of interstate and foreign commerce, to knowingly

 8   persuade, induce, entice, and coerce a person who had not yet

 9   attained the age of 18 years, specifically, Victim C, then a 12-year-

10   old minor girl in Ohio, to engage in sexual activity for which a

11   person can be charged with a criminal offense, namely, Lewd and

12   Lascivious Acts with a Minor Child Under 14 Years, in violation of

13   California Penal Code Section 288(a).

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 1                            FORFEITURE ALLEGATION ONE

 2                                [18 U.S.C. § 2253]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 2253, in the event of the defendant’s

 7   conviction of any of the offenses set forth in Counts One, Two, Four,

 8   Five, Six, Seven, or Eight of this Indictment.

 9        2.    The defendant, if so convicted, shall forfeit to the United

10   States of America the following property:

11              (a)   All right, title, and interest in any visual depiction

12   involved in any such offense, or any book, magazine, periodical, film

13   videotape, or other matter which contains any such visual depiction,

14   which was produced, transported, mailed, shipped or received and

15   involved in any such offense;

16              (b)   All right, title, and interest in any property, real

17   or personal, constituting or traceable to gross profits or other

18   proceeds obtained from such offense;

19              (c)   All right, title, and interest in any property, real

20   or personal, used or intended to be used to commit or to promote the

21   commission of such offense or any property traceable to such

22   property, including but not limited to the following which were

23   seized by law enforcement on July 30, 2021:

24                    1.   One ASUS Tek G731G laptop, with serial number

25   k9nrcv01275536c;

26                    2.   One Google Pixel 4 XL cellphone, with IMEI number

27   356728100716543;

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 1                    3.   One Black Tower computer I-series, model

 2   G255B009G, with serial number A467-1741-cf67-16c9; and

 3                    4.   One Dell laptop, Model G3, with serial number

 4   7SC7LR2.

 5              (d)   To the extent such property is not available for

 6   forfeiture, a sum of money equal to the total value of the property

 7   described in subparagraphs (a), (b), and (c).

 8        3.    Pursuant to Title 21, United States Code, Section 853(p),

 9   as incorporated by Title 18 Section 2253(b), the defendant, if so

10   convicted, shall forfeit substitute property, up to the total value

11   of the property described in the preceding paragraph if, as the

12   result of any act or omission of the defendant, the property

13   described in the preceding paragraph, or any portion thereof: (a)

14   cannot be located upon the exercise of due diligence; (b) has been

15   transferred, sold to or deposited with a third party; (c) has been

16   placed beyond the jurisdiction of the court; (d) has been

17   substantially diminished in value; or (e) has been commingled with

18   other property that cannot be divided without difficulty.

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 1                            FORFEITURE ALLEGATION TWO

 2                                [18 U.S.C. § 1467]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 1467, in the event of the defendant’s

 7   conviction of any of the offenses set forth in Count Three of this

 8   Indictment.

 9        2.    The defendant, if so convicted, shall forfeit to the United

10   States of America the following property:

11              (a)   Any obscene material produced, transported, mailed,

12   shipped, or received and involved in such offense;

13              (b)   All right, title, and interest in any property, real

14   or personal, constituting or traceable to gross profits or other

15   proceeds obtained from such offense;

16              (c)   All right, title, and interest in any property, real

17   or personal, used or intended to be used to commit or to promote the

18   commission of such offense, including but not limited to the

19   following which were seized by law enforcement on July 30, 2021:

20                    1.   One ASUS Tek G731G laptop, with serial number

21   k9nrcv01275536c;

22                    2.   One Google Pixel 4 XL cellphone, with IMEI number

23   356728100716543;

24                    3.   One Black Tower computer I-series, model

25   G255B009G, with serial number A467-1741-cf67-16c9; and

26                    4.   One Dell laptop, Model G3, with serial number

27   7SC7LR2.

28              (d)   To the extent such property is not available for
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 1   forfeiture, a sum of money equal to the total value of the property

 2   described in subparagraphs (a), (b), and (c).

 3        3.    Pursuant to Title 21, United States Code, Section 853(p),

 4   as incorporated by Title 18 Section 1467(b), the defendant, if so

 5   convicted, shall forfeit substitute property, up to the total value

 6   of the property described in the preceding paragraph if, as the

 7   result of any act or omission of the defendant, the property

 8   described in the preceding paragraph, or any portion thereof: (a)

 9   cannot be located upon the exercise of due diligence; (b) has been

10   transferred, sold to or deposited with a third party; (c) has been

11   placed beyond the jurisdiction of the court; (d) has been

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 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

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 4

 5                                            A TRUE BILL
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 7
                                                      /S/
                                              Foreperson
 8

 9   TRACY L. WILKISON
     United States Attorney
10

11

12   SCOTT M. GARRINGER
     Assistant United States Attorney
13   Chief, Criminal Division

14   JOANNA CURTIS
     Assistant United States Attorney
15   Chief, Violent and Organized
     Crime Section
16
     CHELSEA NORELL
17   Assistant United States Attorney
     Violent and Organized Crime
18   Section

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